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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FIORE 24 19:93
TAMPA DIVISION “YY? > “

Case No. 8:03-CR-77=7-30TBM
UNITED STATES OF AMERICA
-vs- 4 August 2005

SAMI AMIN AL-ARIAN 9:00 a.m.
SAMEEH HAMMOUDEH

GHASSAN ZAYED BALLUT

HATIM NAJI FARIZ

Defendants.

TRANSCRIPT OF PROCEEDINGS
(EXCERPTS OF JURY TRIAL - TESTIMONY OF KERRY MYERS)
BEFORE THE HONORABLE JAMES S. MOODY, JR.,
UNITED STATES DISTRICT COURT JUDGE

APPEARANCES:

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(appearances continued on next page)
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Sherrill L. Jackson, RPR
Official Court Reporter, U.S. District Court
Middle District of Florida, Tampa Division

